                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

          Cargill, Incorporated         )              JUDGMENT IN CASE
  Cargill Meat Solutions Corporation,
                                        )
             Plaintiff(s),              )            3:16-cv-00848-FDW-DSC
                                        )
                  vs.                   )
                                        )
             Brian Ewert                )
            Jennifer Maier
              WDS, Inc.,
            Defendant(s).               )

 DECISION BY COURT. This action having come before the Court for trial and a verdict
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Jury’s January 22, 2018 Verdict.

                                                January 23, 2018




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